Case 19-30878   Doc 58   Filed 02/28/20 Entered 02/28/20 08:41:14   Desc Main
                           Document     Page 1 of 6
Case 19-30878   Doc 58   Filed 02/28/20 Entered 02/28/20 08:41:14   Desc Main
                           Document     Page 2 of 6
Case 19-30878   Doc 58   Filed 02/28/20 Entered 02/28/20 08:41:14   Desc Main
                           Document     Page 3 of 6
Case 19-30878   Doc 58   Filed 02/28/20 Entered 02/28/20 08:41:14   Desc Main
                           Document     Page 4 of 6
Case 19-30878   Doc 58   Filed 02/28/20 Entered 02/28/20 08:41:14   Desc Main
                           Document     Page 5 of 6
Case 19-30878   Doc 58   Filed 02/28/20 Entered 02/28/20 08:41:14   Desc Main
                           Document     Page 6 of 6
